      Case 1:21-cr-00048-JRH-BKE Document 57-1 Filed 07/13/22 Page 1 of 3




                    UI\IITED STATES DISTRICT COURT
                    SOUTHENN DISTRICT OF GEOBGIA
                            AUGUSTA DTYISION

UMTED STATES OF AMERICA             )     CASE NO: 1:2I-CR-048
                                    )
v.)
                                    )
sAlvrMrE LEE    SIAS                )




                                  EX. A
        Case 1:21-cr-00048-JRH-BKE Document 57-1 Filed 07/13/22 Page 2 of 3




                        DECLARATION OF CUSTODIAN OF RECORDS


Pursuant to 28 U.S.C. § 1746, I, the undersigned, hereby declares as follows:


                   0DUVKD7LDUDQDL
My name is ________________________________________.             I am over eighteen years of age.
I am the custodian of records for Pentagon Federal Credit Union (PenFed), or I am otherwise
qualified as a result of my position with PenFed to make this declaration, and I am familiar with
the manner in which the records are made and maintained.


                                       
I am in receipt of a subpoena dated ______________,             7DUD0/\RQV
                                                    issued by __________________________
____________________________, requesting specified records referenced below.


Attached hereto are ___________
                                                       DFFRXQWVWDWHPHQWVFKHFNFRSLHV
                                pages of records regarding ____________________________
______________________________________________________________________________
VLJQDWXUHFDUGVDQGORDQGRFXPHQWVSHUWDLQLQJWR6DPPLH/6LDV
______________________________________________________________________________
(brief description of type of documents being subpoenaed) responsive to the subpoena. I state
that each of the records attached hereto is the original record or a true duplicate of the original
record in the custody of PenFed. Pursuant to Rules 902(11) and 803(6) of the Federal Rules of
Evidence, I hereby certify that:
   1.    all records attached to this certificate were made at or near the time of the occurrence of
         the matters set forth, by, or from information transmitted by, a person with knowledge of
         those matters;
   2.    such records were kept in the regular course of a regularly conducted business activity of
         PenFed; and
   3.    such records were made by PenFed as a regular practice.


I certify under penalty of perjury that the foregoing is true and correct.

                
Executed on _______________________________.
                    (date)

                                                    Marsha Tiaranai Date: 2022.07.12 10:42:30 -04'00'
                                                                             Digitally signed by Marsha Tiaranai
                                                    _____________________________________
                                                    [signature of certifier]


                                                    _____________________________________
                                                    0DUVKD7LDUDQDL0DQDJHU7KLUG3DUW\/HJDO5HTXHVW
                                                    [name and title of certifier]
          Case 1:21-cr-00048-JRH-BKE Document 57-1 Filed 07/13/22 Page 3 of 3




                          DECLARATION OF CUSTODIAN OF RECORDS


Pursuant to 28 U.S.C. § 1746, I, the undersigned, hereby declares as follows:


My name is Katina Spriggs. I am over eighteen years of age. I am the custodian of records for Pentagon
Federal Credit Union (PenFed), or I am otherwise qualified as a result of my position with PenFed to
make this declaration, and I am familiar with the manner in which the records are made and maintained.

I am in receipt of a subpoena dated 12/10/2020, issued by United States District Court PO Number
B172SB, requesting specified records referenced below.

Attached hereto are 672 pages of records regarding Cash Deposits, Credit Card Statements, Account
Statements, Membership, Equity Loan Checks, and Checks
responsive to the subpoena. I state that each of the records attached hereto is the original record or a
true duplicate of the original record in the custody of PenFed. Pursuant to Rules 902(11) and 803(6) of
the Federal Rules of Evidence, I hereby certify that:
   1.   all records attached to this certificate were made at or near the time of the occurrence of the
        matters set forth, by, or from information transmitted by, a person with knowledge of those
        matters;

   2.   such records were kept in the regular course of a regularly conducted business activity of
        PenFed; and

   3.   such records were made by PenFed as a regular practice.

I certify under penalty of perjury that the foregoing is true and correct.


Executed on January 5, 2021.




                                                       Katina Spriggs
                                                       BSA/AML Specialist



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